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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                  Filed and Entered
                                                                                                      On Docket
                                                                                                   April 22, 2019


In re:
         Edward E. Varipapa
                                                                                            Case Number: 19−30317 amn
         Maria Lisa Varipapa                                                                Chapter: 7
         Debtor*

The Bank of New York Mellon, F/K/A The Bank of New York as trustee for First
Horizon Alternative Mortgage Securities Trust 2007−FA2
Movant(s)

v.

Edward E. Varipapa and Maria Lisa Varipapa
Barbara H. Katz, Trustee

Respondent(s)

                              ORDER GRANTING RELIEF FROM AUTOMATIC STAY



           Pursuant to 11 U.S.C. §§ 362(d)(1) and (2); The Bank of New York Mellon, F/K/A The Bank of New
York as trustee for First Horizon Alternative Mortgage Securities Trust 2007−FA2 (the "Movant"), filed a Motion for
Relief from Stay dated March 29, 2019 (the "Motion", ECF No. 13). After notice and a hearing, see 11 U.S.C. §
102(1), and in compliance with the Court's Contested Matter Procedure, it appearing that the relief sought in the
Motion should be granted; it is hereby

            ORDERED: The automatic stay provided in 11 U.S.C. § 362(a) is modified pursuant to 11 U.S.C. §
362(d)(1); to permit the Movant and/or their successors and assignees, to exercise their rights, if any, with respect to
real property commonly known as 100 Spring Road, North Haven, Connecticut 06473, in accordance with applicable
non−bankruptcy law.




Dated: April 22, 2019                                                                     BY THE COURT




United States Bankruptcy Court                                                      Tel. (203) 773−2009
District of Connecticut                                                             VCIS* (866) 222−8029
157 Church Street, 18th Floor                                                       * Voice Case Information System
New Haven, CT 06510                                                                 http://www.ctb.uscourts.gov
                                                                                    Form 118 −
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
